Case 5:08-cr-04057-MWB-CJW   Document 68   Filed 12/15/08   Page 1 of 6
Case 5:08-cr-04057-MWB-CJW   Document 68   Filed 12/15/08   Page 2 of 6
Case 5:08-cr-04057-MWB-CJW   Document 68   Filed 12/15/08   Page 3 of 6
Case 5:08-cr-04057-MWB-CJW   Document 68   Filed 12/15/08   Page 4 of 6
Case 5:08-cr-04057-MWB-CJW   Document 68   Filed 12/15/08   Page 5 of 6
Case 5:08-cr-04057-MWB-CJW   Document 68   Filed 12/15/08   Page 6 of 6
